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                                          U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York
                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007

                                                     August 9, 2022

BY CM/ECF

The Honorable Ronnie Abrams
United States District Judge
United States Courthouse
40 Foley Square, Room 2203
New York, New York 10007

       Re:     United States v. Hild,
               19 Cr. 602 (RA)

Dear Judge Abrams:

       The Government writes in response to the defendant’s letter dated July 29, 2022, which
purports to cite supplemental authority in support of the defendant’s Rule 29 and 33 motions.

        The defendant’s letter cites disciplinary charges filed by the Kentucky Bar Association
Inquiry Commission (the “Inquiry Commission”) as evidence that the Court should question the
credibility of the defendant’s former attorney, Benjamin Dusing. However, it is significant that the
Inquiry Commission’s new charges differ substantially from the initial charges that led to Mr.
Dusing’s temporary suspension from the Kentucky Bar. As the defendant has acknowledged, the
Inquiry Commission’s initial charges were based on, among other things, a bar complaint filed by
the defendant. See Feb. 24, 2022 Letter, ECF 124. The defendant alleged, among other things, that
Dusing solicited his representation and used amphetamine drugs during trial. Id.

      Tellingly, the Inquiry Commission’s new charges have no basis in the defendant’s bar
complaint. Instead, they focus on Dusing’s conduct in his child custody litigation in Kentucky.

        The absence of charges based on Hild’s complaint calls into question Hild’s credibility.
And there are additional reasons to question Hild’s allegations against Dusing in this action. In
particular, the Government has obtained evidence 1 that Hild is responsible for an anonymous
Twitter account created for the sole purpose of harassing Dusing and others associated with his
law practice. The account, which uses the handle “LiesAreLoud TheTruthIsQuiet” (the “Lies Are
Loud Account”), was created on or about February 10, 2022, and has since tweeted over one
hundred times about Dusing and/or his co-counsel, Katy Lawrence, often tagging various local
media outlets.



1
  IP addresses associated with a Comcast account were used to log into the Twitter account. The
relevant Comcast account is subscribed to Michael Hild at an address in Richmond, Virginia.
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         For example, on February 10, 2022, the Lies Are Loud Account posted a photograph of a
letter from Dusing to Lawrence and suggested that Dusing and Lawrence had committed perjury.
The post tagged various media outlets.

       Many of the posts are a patent effort to harass Dusing, Lawrence, and others associated
with Dusing’s law practice, who are potential witnesses to the conflict-of-interest issues in the
Rule 29/33 litigation. For example, on or about February 13, 2022, the Lies Are Loud Account
tweeted the following:




       The Lies Are Loud Account made a similar posting on February 27, 2022:
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           The Lies Are Loud Account also targeted Dusing’s co-counsel, Katy Lawrence:




       And the account targeted a paralegal at Dusing’s law firm:




       Most recently, after local news outlets reported that there had been a fire at Dusing’s
home, the Lies Are Loud Account posted the following two posts:
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       These postings raise serious concerns with Hild’s credibility and demonstrate efforts to
dissuade Lawrence and other employees from their continued association with Dusing. They also
suggest efforts to retaliate against Dusing for disputing Hild’s allegations of ineffective assistance
of counsel. Most troubling in this regard are the posts after Dusing’s house fire, which appear to
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be a clear attempt to impugn Dusing’s reputation and accuse him without basis of committing a
crime by suggesting that Dusing intentionally set the fire.

        The Government respectfully submits that Hild’s use of this anonymous Twitter account,
attacking Dusing and others associated with him, should be considered in evaluating the credibility
of Hild’s Declaration in support of the Rule 29/33 motion. See Hild Declaration, ECF 105.


                                                     Respectfully submitted,

                                                     DAMIAN WILLIAMS
                                                     United States Attorney

                                             By:     /s/
                                                     Scott Hartman
                                                     Jordan Estes
                                                     Assistant United States Attorneys
                                                     (212) 637-2357
